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                          APPENDIX 1: PROPOSED CASE SCHEDULE

             Event                   Plaintiff’s Proposal         Defendants’ Proposal

P.R. 3-1 Disclosure of
Asserted Claims and
Infringement Contentions               February 4, 2019             January 17, 2019
(and P.R. 3-2 document
production) to be served

Join Additional Parties                                  March 1, 2019

Mediation.
The Court will appoint a           30 days after entry of the    45 days after deadline to
mediator at the Scheduling         claim construction order      file dispositive motions
Conference.

Privilege Logs to be
exchanged by parties (or a
letter to the Court stating that
                                                      March 15, 2019
there are no disputes as to
claims of privileged
documents).

P.R. 3-3 Invalidity
Contentions (and P.R. 3-4
document production) to be
served. To extent not already
                                       March 26, 2019                March 21, 2019
required to be disclosed,
exchange Mandatory
Disclosures on all issues,
including damages.

Parties to exchange proposed
terms for construction and
identify any claim element               April 4, 2019               March 28, 2019
governed by 35 U.S.C. § 112,
¶ 6 (P.R. 4-1).

Parties to exchange
preliminary proposed claim
construction and extrinsic              April 18, 2019                   April 11, 2019
evidence supporting same
(P.R. 4-2).



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            Event                Plaintiff’s Proposal        Defendants’ Proposal

Parties’ Final Amended
Pleadings
                                                 April 25, 2019
(A motion for leave is
required.)

Joint Claim Construction and
Prehearing Statement to be
filed (P.R. 4-3). Provide an
                                                    May 2, 2019
estimate of how many pages
are needed to brief the
disputed claims.

Respond to Amended
                                                    May 16, 2019
Pleadings

Completion date for discovery
on claim construction (P.R. 4-                      May 16, 2019
4).

Opening claim construction
                                                    May 23, 2019
brief (P.R. 4-5(a)).

Responsive claim
construction brief (P.R. 4-                         June 6, 2019
5(b)).

Reply claim construction brief
                                                    June 13, 2019
(P.R. 4-5(c)).

Submit technology                                           At the Court’s discretion
synopsis/tutorial (both hard        June 20, 2019            to be discussed at the
copy and disk).                                               Rule 16 conference

Parties to file joint claim
construction and chart (P.R.
4-5(d)). Parties shall work                         June 28, 2019
together to agree on as many
claim terms as possible.

Proposed Claim Construction       Wednesday, July 10, 2019 (subject to Court
hearing                                          approval)




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            Event                  Plaintiff’s Proposal      Defendants’ Proposal

Deadline for Initial
Mandatory Disclosure of all
persons, documents, data
compilations and tangible
things, which are relevant to a
claim or defense of any party
and which has not previously
been disclosed. This deadline
is not an extension of earlier                     August 14, 2019
deadlines set out in this
court’s order or the Patent
Rules, nor an excuse to delay
disclosure of information. It is
a “catchall” deadline for
provision of all remaining
information which may be
relevant to a claim or defense
of any party at trial.

Parties with burden of proof
to designate Expert Witnesses
other than claims construction
experts and provide their
                                                  September 11, 2019
expert witness reports, to
include for ALL experts all
information set out in Rule
26(a)(2)(B).

Comply with P.R. 3-7.
(Designation of Wilfulness                        September 11, 2019
Opinions).

Parties to Designate Expert
Witnesses on issues for which
the parties do not bear the
burden of proof, and provide
their expert witness report, to
include for ALL experts all                        October 9, 2019
information set out in Rule
26(2)(B).
Note: Objections to any
expert, including Daubert
motions, shall be filed within


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            Event                Plaintiff’s Proposal      Defendants’ Proposal
3 weeks after the expert’s
Report has been disclosed.
Such objections and motions
are limited to ten pages
each.

Discovery Deadline. All
discovery must be served in
                                                October 23, 2019
time to be completed by this
date.

File Dispositive Motions and
any other motions that may
require a hearing. Regardless
of how many dispositive
motions a party files, each
party is limited to a total of
sixty pages for such motions.                   October 30, 2019
Each individual motion shall
comply with Local Rule CV-
7.
Responses to motions shall
be due in accordance with
Local Rule CV-7(e).

Notice of intent to offer
                                                December 11, 2019
certified records

Counsel and unrepresented
parties are each responsible
for contacting opposing
counsel and unrepresented
parties to determine how they
will prepare the Joint Final
Pretrial Order (See                             December 11, 2019
www.txed.uscourts.gov) and
Proposed Jury Instructions
and Verdict Form (or
Proposed Findings of Fact and
Conclusions of Law in
nonjury cases).

Video Deposition Designation                    December 18, 2019
due. Each party who proposes


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            Event                  Plaintiff’s Proposal      Defendants’ Proposal
to offer a deposition by video
shall serve on all other parties
a disclosure identifying the
line and page numbers to be
offered. All other parties will
have seven calendar days to
serve a response with any
objections and requesting
cross examination line and
page numbers to be included.
Counsel must consult on any
objections and only those
which cannot be resolved
shall be presented to the court.
The party who filed the initial
Video Deposition Designation
is responsible for preparation
of the final edited video in
accordance with all parties
designations and the court’s
rulings on objections

Motions in limine due
File Joint Final Pretrial Order.
Exchange Exhibits and deliver
copies to the court. At this
date, all that is required to be                  December 16, 2019
submitted to the court is a
hyperlinked exhibit list on
disk (2 copies) and no hard
copies

Response to motions in limine
due
File objections to witnesses,
deposition extracts, and
exhibits, listed in pre-trial
order. (This does not extend                       January 4, 2020
the deadline to object to
expert witnesses). If
numerous objections are filed
the court may set a hearing
prior to docket call.


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           Event                Plaintiff’s Proposal         Defendants’ Proposal
File Proposed Jury
Instructions/Form of Verdict
(or Proposed Findings of Fact
and Conclusions of Law).

Final Pretrial Conference at
9:00 a.m. at the Paul Brown
United States Courthouse, 101                  January 15, 2020
E. Pecan Street, Sherman,
Texas 75090.

10:00 a.m. Jury Selection and
Trial at the Paul Brown
United States Courthouse                               TBD
located at 101 East Pecan
Street in Sherman, Texas.




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